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              EXHIBIT 9
Case 1:23-cv-00108-LMB-JFA Document 630-11 Filed 05/16/24 Page 2 of 6 PageID# 12146



                                                                        Page 1

   1                          UNITED STATES DISTRICT COURT
   2                          EASTERN DISTRICT OF VIRGINIA
   3                              ALEXANDRIA DIVISION
   4         -----------------------X
             UNITED STATES, ET AL., :
   5                                        :
                           Plaintiff,       :
   6                                        :   Case No.
                         v.                 :   1:23-cv-00108-LMB-JFA
   7                                        :
             GOOGLE LLC,                    :
   8                                        :
                         Defendant.         :
   9         -----------------------X
  10
  11
  12
  13                   VIDEOTAPED DEPOSITION OF SUSAN A. MCMEEN
  14                  Thursday, September 7, 2023; 9:45 a.m. EDT
  15
  16
  17
  18
             Reported by:       Cindy L. Sebo, RMR, CRR, RPR, CSR, CCR,
  19         CLR, RSA, NYRCR, NYACR, CA CSR 14409, NJ CCR
             30XI00244600, NJ CRT 30XR00019500, Washington State CSR
  20         23005926, Oregon CSR 230105, TN CSR 998, NW CSR 589,
             Remote Counsel Reporter, LiveLitigation Authorized
  21         Reporter, Notary Public
  22         Job No. 6067835

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                                                              Page 2                                                               Page 4
       1         Videotaped Deposition of SUSAN A. MCMEEN,              1       A P P E A R A N C E S (Continued):
                                                                        2    Attorneys for Plaintiff:
       2   held at the law offices of Paul, Weiss, Rifkind,             3      U.S. DEPARTMENT OF TRANSPORTATION
       3   Wharton & Garrison LLP, 2001 K Street, Northwest,            4      ERIN D. HENDRIXSON, ESQUIRE
                                                                        5      ASHLEY SIMPSON, ESQUIRE
       4   Washington, D.C. 20006, before Cindy L. Sebo,
                                                                        6      1200 New Jersey Avenue, Southeast
       5   Registered Merit Court Reporter, Certified Real-Time         7      Washington, D.C. 20590
       6   Reporter, Registered Professional Reporter, Certified        8      erin.hendrixson@usdot.gov
                                                                        9      ashley.simpson@usdot.gov
       7   Shorthand Reporter, Certified Court Reporter, Certified
                                                                       10
       8   LiveNote Reporter, Real-Time Systems Administrator,               Attorneys for Defendant:
       9   California Shorthand Reporter 14409, New Jersey             11
                                                                               PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
      10   Certified Court Reporter 30XI00244600, New Jersey           12
      11   Certified Realtime Reporter 30XR00019500, New York                  CARTER E. GREENBAUM, ESQUIRE
      12   Realtime Certified Reporter, New York Association           13
                                                                               MARTHA L. GOODMAN, ESQUIRE
      13   Certified Reporter, Washington State CSR 23005926,          14
      14   Oregon CSR 230105, Tennessee CSR 998, New Mexico                    2001 K Street, Northwest
                                                                       15
      15   CSR 589, Remote Counsel Reporter, LiveLitigation
                                                                               Washington, D.C. 20008-1047
      16   Authorized Reporter and Notary Public, beginning at         16
      17   approximately 9:45 a.m. EDT, when were present on                   cgreenbaum@paulweiss.com
                                                                       17
      18   behalf of the respective parties:
                                                                               mgoodman@paulweiss.com
      19                                                               18
      20                                                               19
                                                                       20
      21                                                               21    ALSO PRESENT:
      22                                                               22     ORSON BRAITWAITHE, Videographer

                                                              Page 3                                                               Page 5
       1             A P P E A R A N C E S:                             1               --oOo--
       2      Attorneys for Plaintiff:                                  2           INDEX OF EXAMINATION
                                                                        3             SUSAN A. MCMEEN
       3        U.S. DEPARTMENT OF JUSTICE
                                                                        4      United States, et al. vs. Google, LLC
       4        ANTITRUST DIVISION
                                                                        5         Thursday, September 7, 2023
       5        MARK H.M. SOSNOWSKY, ESQUIRE                            6               --oOo--
       6        DAVID GROSSMAN, ESQUIRE                                 7
       7        ALVIN CHU, ESQUIRE                                      8   EXAMINATION BY                             PAGE
       8        450 Fifth Street, Northwest                             9   Mr. Greenbaum                      15, 187
       9        Washington, D.C. 20530                                 10
                                                                       11
      10        202.412.7316
                                                                       12
      11        mark.sosnowsky@usdoj.gov
                                                                       13
      12        david.grossman@usdoj.gov                               14
      13        alvin.chu@usdoj.gov                                    15
      14                                                                    CERTIFICATE OF REPORTER                         426
      15                                                               16
      16                                                               17

      17                                                                    ERRATA                              428
                                                                       18
      18
                                                                            ACKNOWLEDGMENT OF WITNESS                             429
      19
                                                                       19
      20                                                               20
      21                                                               21
      22                                                               22

                                                                                                                         2 (Pages 2 - 5)
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                                                                  Page 10                                                             Page 12
        1               --oOo--                                              1               --oOo--
        2        INDEX TO EXHIBITS (Continued)                               2        INDEX TO EXHIBITS (Continued)
        3            SUSAN A. MCMEEN                                         3            SUSAN A. MCMEEN
        4      United States, et al. vs. Google, LLC                         4      United States, et al. vs. Google, LLC
        5         Thursday, September 7, 2023                                5         Thursday, September 7, 2023
        6               --oOo--                                              6               --oOo--
        7   DEPOSITION                                                       7   DEPOSITION
            EXHIBIT NUMBER DESCRIPTION                           PAGE            EXHIBIT NUMBER DESCRIPTION                          PAGE
        8                                                                    8
            Exhibit 109   E-mail string with attachment,                         Exhibit 115   Collection of documents,
        9                                                                    9
                    Bates stamped
                                                                                         Bates stamped
       10
                                                                            10
                    NHTSA-ADS-0000250045 through
                                                                                         NHTSA-ADS-0000733231 through
       11
                                                                            11
                    NHTSA-ADS-0000250049                   276
                                                                                         NHTSA-ADS-0000733298                  369
       12
                                                                            12
       13   Exhibit 110 E-mail with attachment, McMeen
                                                                            13   Exhibit 116 E-mail string, Bates stamped
       14            to Vallese, cc: McMeen, January
       15            24, 2023, Bates stamped                                14            NHTSA-ADS-0000648144 through
       16            NHTSA-ADS-0000328452 through                           15            NHTSA-ADS-0000648146                 378
       17            NHTSA-ADS-0000328455              299                  16
       18                                                                        Exhibit 117   E-mail string, Bates stamped
            Exhibit 111   Determination and Finding                         17
       19                                                                                NHTSA-ADS-0000484070 through
                    checklists, Bates stamped                               18
       20                                                                                NHTSA-ADS-0000484071                  388
                    NHTSA-ADS-0000718826 through                            19
       21                                                                   20
                    NHTSA-ADS-0000718831                   332              21
       22                                                                   22

                                                                  Page 11                                                             Page 13
        1               --oOo--
                                                                             1                  --oOo--
        2        INDEX TO EXHIBITS (Continued)
        3            SUSAN A. MCMEEN                                         2             PROCEEDINGS
        4      United States, et al. vs. Google, LLC                         3                  --oOo--
        5         Thursday, September 7, 2023
        6               --oOo--                                              4               Washington, D.C.
        7   DEPOSITION                                                       5                  --oOo--
            EXHIBIT NUMBER DESCRIPTION                           PAGE
        8                                                                    6      Thursday, September 7, 2023; 9:45 a.m. EDT
            Exhibit 112   E-mail with attachment, McMeen                     7                  --oOo--
        9
                    to Susan and John, September
                                                                             8             THE VIDEOGRAPHER: Good morning.
       10                                                                    9        We are going on the record at 9:45 a.m.
                    29, 2022, Bates stamped
       11
                                                                            10        on September 7th, 2023.
                    NHTSA-ADS-0000384605 through                            11             Please note that the microphones
       12
                                                                            12        are sensitive and may pick up whispering
                    NHTSA-ADS-0000384607                   343
       13                                                                   13        and private conversations. Please mute
       14   Exhibit 113 E-mail string, Bates stamped                        14        your phones at this time.
       15            NHTSA-ADS-0000511601 through
       16            NHTSA-ADS-0000511602                  345              15             Audio and video recording will
       17                                                                   16        continue to take place unless all parties
            Exhibit 114   E-mail string with attachment,
       18                                                                   17        agree to go off the record.
                    Bates stamped                                           18             This is Media Unit 1 of the
       19
                    NHTSA-ADS-0000344712 through
                                                                            19        videorecorded deposition of
       20                                                                   20        Ms. Susan McMeen, in the matter of
                    NHTSA-ADS-0000344848                   358
       21
                                                                            21        United States, et al. versus Google LLC,
       22                                                                   22        filed in the United States District

                                                                                                                          4 (Pages 10 - 13)
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                                                    Page 318                                                 Page 320
        1   you --                                              1             MR. SOSNOWSKY: Same objection.
        2        A. February, March. I don't remember           2             THE WITNESS: No.
        3   when.                                               3             BY MR. GREENBAUM:
        4        Q. Okay. What was your understanding,          4        Q. At this time, what are your
        5   prior to him reaching out to you, of any            5   feelings or views on your personal participation
        6   anticompetitive conduct on the part of Google       6   in providing the information that Mr. Lynch
        7   affecting NHTSA's advertising?                      7   requested of you?
        8             MR. SOSNOWSKY: So I'm going to            8             MR. SOSNOWSKY: Objection to form.
        9        instruct -- object on the grounds of           9             I just need a moment to take a
       10        privilege.                                    10        look at that question.
       11             To the extent that your answer           11             (Whereupon, counsel reviews the
       12        would contain information received from       12              real-time screen).
       13        counsel, I would instruct you not to          13             MR. SOSNOWSKY: You can answer
       14        answer. But you can answer that question      14        that question as long as you're not
       15        otherwise if you have that information.       15        divulging the specifics of what
       16             BY MR. GREENBAUM:                        16        information was requested of you or what
       17        Q. And to be clear, I'm asking you for        17        information you provided to counsel.
       18   your understanding prior to Mr. Hench reaching     18             THE WITNESS: Okay.
       19   out to you.                                        19             Can you repeat the question?
       20             MR. SOSNOWSKY: Or any other              20             BY MR. GREENBAUM:
       21        counsel, I would assume.                      21        Q. At this time, what are your
       22             MR. GREENBAUM: Well, Mr. Hench           22   feelings or views on your personal participation
                                                    Page 319                                                 Page 321
       1         was the first.                               1     in providing information requested by Mr. Lynch?
       2             BY MR. GREENBAUM:                        2               MR. SOSNOWSKY: Same objections.
       3         Q. So do you want me to ask the              3               THE WITNESS: So his name is
       4    question again?                                   4          actually Hench, not Lynch.
       5         A. Sure, that would be lovely.               5               BY MR. GREENBAUM:
       6         Q. What was your understanding of any        6          Q. Hench?
       7    anticompetitive conduct on the part of Google     7          A. Hench.
       8    affecting NHTSA's advertising prior to Mr. Hench 8           Q. Thanks.
       9    reaching out to you concerning this matter?       9               Okay.
      10         A. I don't remember anything.               10          A. Just wanted to clarify that.
      11         Q. Prior to Mr. Hench reaching out to       11               I'm just doing my job.
      12    you, did you have any views as to whether NHTSA 12           Q. Did you ask Stratacomm for help to
      13    had been affected by any anticompetitive conduct 13     provide information to Mr. Hench to respond to
      14    on the part of Google?                           14     his inquiry?
      15             MR. SOSNOWSKY: Object to form.          15               MR. SOSNOWSKY: So that's a
      16             THE WITNESS: Can you repeat the         16          yes-or-no question, and you can answer it
      17         question?                                   17          yes or no.
      18             BY MR. GREENBAUM:                       18               THE WITNESS: I, personally, did
      19         Q. Prior to Mr. Lynch [sic] reaching        19          not.
      20    out to you, did you have any views as to whether 20               BY MR. GREENBAUM:
      21    NHTSA had been affected by any anticompetitive 21            Q. Did you ask Ad Council?
      22    conduct on the part of Google?                   22               MR. SOSNOWSKY: Same instructions.

                                                                                             81 (Pages 318 - 321)
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                                                               Page 426                                                           Page 428
       1              CERTIFICATE                                     1                    ERRATA
       2         I, Cindy L. Sebo, Nationally Certified Court         2        WITNESS: SUSAN A. MCMEEN
       3    Reporter herein do hereby certify that the foregoing
                                                                      3        DATE:      September 7, 2023
       4    deposition of SUSAN A. MCMEEN was taken before me
                                                                      4        CAPTION: United States, et al. versus Google LLC
       5    pursuant to notice; that said witness was duly sworn
       6    remotely by a certified stenographer to tell the truth,   5        PAGE LINE REASON FOR CHANGE:

       7    the whole truth, and nothing but the truth under penalty  6        ____ ____ _____________________________________
       8    of perjury; that the testimony of said witness was        7        ____ ____ _____________________________________
       9    correctly recorded to the best of my ability in machine   8        ____ ____ _____________________________________
      10    shorthand and thereafter transcribed under my             9        ____ ____ _____________________________________
      11    supervision with computer-aided transcription; that the
                                                                     10        ____ ____ _____________________________________
      12    deposition is a true and accurate record of the
                                                                     11        ____ ____ _____________________________________
      13    testimony given by the witness; and that I am neither of
                                                                     12        ____ ____ _____________________________________
      14    counsel nor kin to any party in said action, nor
      15    interested in the outcome thereof.                       13        ____ ____ _____________________________________
      16                                                                  14   ____ ____ _____________________________________
      17        <%1372,Signature%>                                        15   ____ ____ _____________________________________
      18        Cindy L. Sebo, RMR, CRR, RPR, CSR, CCR, CLR,              16   ____ ____ _____________________________________
                RSA, NYRCR, NYACR, CA CSR #14409, NJ CCR                  17   ____ ____ _____________________________________
      19        30XI00244600, NJ CRT 30XR00019500,
                                                                          18   ____ ____ _____________________________________
                Washington CSR 23005926, Oregon State 230105,
                                                                          19   ____ ____ _____________________________________
      20        TN CSR 998, NM CSR 589, Remote Counsel
                Reporter, LiveLitigation Authorized Reporter,             20

      21        Notary Public                                             21   ________    _____________________________________
      22                                                                  22   DATE         SUSAN A. MCMEEN

                                                               Page 427                                                           Page 429
        1              ERRATA                                              1           ACKNOWLEDGMENT OF WITNESS
        2   WITNESS: SUSAN A. MCMEEN                                       2
        3   DATE:    September 7, 2023                                     3        I, SUSAN A. MCMEEN, do hereby certify that I
        4   CAPTION: United States, et al. versus Google LLC               4   have read the foregoing pages herein, and that the same
        5   PAGE LINE REASON FOR CHANGE:                                   5   is a correct transcription of the answers given by me of
        6   ____ ____ _____________________________________                6   the proceedings taken remotely to the questions therein
        7   ____ ____ _____________________________________                7   propounded under penalty of perjury, except for the
        8   ____ ____ _____________________________________                8   corrections or changes in form or substance, if any,
        9   ____ ____ _____________________________________                9   noted in the attached errata sheet.
       10   ____ ____ _____________________________________               10
       11   ____ ____ _____________________________________               11
       12   ____ ____ _____________________________________               12   _________         ______________________________
       13   ____ ____ _____________________________________               13   DATE                       SIGNATURE
       14   ____ ____ _____________________________________               14
       15   ____ ____ _____________________________________               15   Subscribed and sworn to before me
       16   ____ ____ _____________________________________               16   this _____ day of____________, 20______.
       17   ____ ____ _____________________________________               17
       18   ____ ____ _____________________________________               18      My Commission expires:
       19   ____ ____ _____________________________________               19   ____________________________
       20   ____ ____ _____________________________________               20
       21   ____ ____ _____________________________________               21   ____________________________
       22   ____ ____ _____________________________________               22        Notary Public

                                                                                                              108 (Pages 426 - 429)
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